Case 1:23-cv-00108-LMB-JFA Document 1132-6 Filed 08/06/24 Page 1 of 8 PageID# 82776




                             Exhibit F
    (previously filed as Dkt. 660-6)
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                                                                    Page 1

   1
   2      UNITED STATES DISTRICT COURT
          EASTERN DISTRICT OF VIRGINIA
   3      ALEXANDRIA DIVISION
          _________________________________________
   4
          UNITED STATES, et al.,
   5
                                      Plaintiffs,
   6
                        -against-
   7
          GOOGLE LLC,
   8
                                      Defendant.
   9
          No: 1:23-cv-00108-LMB-JFA
  10      _________________________________________
  11
                                      September 28, 2023
  12                                  10:04 a.m.
  13
  14
  15
  16                DEPOSITION of SIMON WHITCOMBE,
  17      taken by Defendant, pursuant to Notice,
  18      held at the offices of COVINGTON & BURLING
  19      LLP, 620 Eighth Avenue, New York, New York
  20      before Wayne Hock, a Notary Public of the
  21      State of New York.
  22
  23
  24
  25       Job No. CS6114685

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                                               Page 190                                              Page 192
       1           S. Whitcombe                            1            S. Whitcombe
       2 is we compete with programmatic, but              2 an advertising sales leader for Facebook,
       3 generally speaking, particularly on               3 you've never had to educate yourself about
       4 lower funnel which is the majority of             4 DSPs in detail; is that correct?
       5 the revenue that we generate from                 5 A. That's correct.
       6 advertising at Meta, we perform more              6        MR. BITTON: Objection to form.
       7 competitively than programmatic                   7 Leading.
       8 generally. And again, when                        8 Q. Can you identify any DSPs other
       9 advertisers allocate budget on                    9 than The Trade Desk?
      10 performance, you know, we do very well           10 A. No.
      11 generally versus programmatic. And               11 Q. Have you ever heard of
      12 that's why you see in a lot of these             12 MediaMath?
      13 documents the search and YouTube and             13 A. Oh, yeah, I've heard of
      14 maybe Tik Tok, that's an area on upper           14 MediaMath, yeah.
      15 funnel and lower funnel where we're              15 Q. Is MediaMath a DSP?
      16 not consistently performing better.              16 A. I don't know. And again, we
      17 It's -- it may be we'll change                   17 don't -- that's not anything that we -- we
      18 depending on an advertiser or the way            18 don't go -- we look at the market through
      19 that they think about measurement or             19 a lens of programmatic. We don't get to
      20 -- it's a much less cut and dry.                 20 that level of detail.
      21 Q. But just for publisher ad                     21 Q. Have you ever heard that an
      22 servers specifically, you almost never           22 advertiser is switching budgets between
      23 hear that Meta's owned and operated              23 MediaMath and Meta?
      24 properties are competing with publishers'        24        MR. BITTON: Objection to form.
      25 ad servers; correct?                             25        THE WITNESS: No.
                                               Page 191                                              Page 193
       1            S. Whitcombe                           1           S. Whitcombe
       2       MR. BITTON: Objection to form.              2 Q. Were you aware that MediaMath
       3 Lacks foundation. Vague. Outside the              3 went bankrupt in June of 2023?
       4 scope.                                            4       MR. BITTON: Objection to form.
       5       THE WITNESS: It's not something             5       THE WITNESS: I do recall
       6 that comes up often or really ever.               6 reading about MediaMath going out of
       7 Q. Let me you ask a little bit                    7 business, yes.
       8 about DSPs or demand side platforms.              8 Q. Can you identify any specific
       9       Does that make sense?                       9 impact that MediaMath's bankruptcy had on
      10 A. Yes.                                          10 Meta's advertising business?
      11 Q. I think you mentioned The Trade               11       MR. BITTON: Objection to form.
      12 Desk.                                            12 Lacks foundation.
      13       Is that a demand side platform?            13       THE WITNESS: Again, no. And
      14       MR. BITTON: Objection to form.             14 again, I think part of that is that a
      15 Lacks foundation.                                15 majority of the revenue that we see
      16       THE WITNESS: Again, as we go to            16 from advertising is direct response
      17 market, I don't work in ad tech and I            17 advertising, very performance-focused
      18 don't have a deep understanding of ad            18 advertising. And generally, against
      19 tech. I think we think of that                   19 all programmatic, we perform very,
      20 category as we go to market as a very            20 very competitively.
      21 large bucket of programmatic, and we             21 Q. What impact did -- if any, did
      22 don't -- I don't have a deep                     22 MediaMath's bankruptcy have on Meta's
      23 understanding of DSPs or that segment            23 advertising business?
      24 of the market.                                   24       MR. BITTON: Objection to form.
      25 Q. Fair to say that, in your job as              25 Asked and answered. Lacks foundation.
                                                                                      49 (Pages 190 - 193)
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                                               Page 194                                              Page 196
       1          S. Whitcombe                             1            S. Whitcombe
       2       MS. PATCHEN: Objection. Asked               2 Q. You're aware that some exchanges
       3 and answered.                                     3 have lowered their take rates in recent
       4       THE WITNESS: No noticeable                  4 years?
       5 impact that I'm aware of.                         5        MR. BITTON: Objection to form.
       6 Q. Have you ever heard of The Trade               6 Lacks foundation.
       7 Desk's OpenPath product?                          7        THE WITNESS: No.
       8 A. No.                                            8 Q. When exchanges lowered their
       9 Q. What impact, if any, did The                   9 take rates in recent years, did that
      10 Trade Desk launching OpenPath have on            10 affect the price of ads sold on Meta's
      11 Meta's advertising business?                     11 platform?
      12       MR. BITTON: Objection to form.             12        MR. BITTON: Objection to
      13 Lacks foundation.                                13 fortunately. Lacks foundation.
      14       MS. PATCHEN: Objection. Same.              14        MS. PATCHEN: Objection. Same.
      15       THE WITNESS: I wouldn't know               15        MR. BITTON: Leading.
      16 and yeah, none that I know of.                   16        THE WITNESS: I'm not aware of
      17 Q. Are you familiar with Yahoo's                 17 it impacting our auction, no.
      18 Gemini ad network?                               18 Q. Can you identify any specific
      19 A. No.                                           19 advertisers who moved some or all of their
      20 Q. Were you aware that Yahoo has                 20 budgets from Meta to exchanges when
      21 announced that it was shutting down the          21 exchanges lowered their take rates?
      22 Gemini network?                                  22        MR. BITTON: Objection to form.
      23 A. I was not aware.                              23 Lacks foundation. Leading.
      24       MR. BITTON: Objection to form.             24        THE WITNESS: That's a level of
      25 Lacks foundation.                                25 granularity on programmatic
                                               Page 195                                              Page 197
       1             S. Whitcombe                          1            S. Whitcombe
       2 Q. What impact, if any, is Yahoo's                2 advertising that I simply don't have.
       3 -- does Yahoo's announcement that it is           3 Q. Fair to say that, as a sales
       4 shutting down the Gemini ad network have          4 leader for Meta's advertising business,
       5 on Meta's advertising business?                   5 you haven't felt the need to educate
       6         MR. BITTON: Objection to form.            6 yourself about how exchanges work; is that
       7 Lacks foundation. Leading.                        7 correct?
       8         MS. PATCHEN: Objection. Same.             8       MR. BITTON: Objection to form.
       9         THE WITNESS: No impact that I'm           9       MS. PATCHEN: Objection.
      10 aware of.                                        10       Is he testifying as the
      11 Q. Yahoo also recently announced                 11 corporate representative now or in his
      12 that it's closing its exchange.                  12 personal capacity?
      13         Do you know that?                        13       MR. VERNON: Both.
      14         MR. BITTON: Objection to form.           14       MR. BITTON: Objection to form.
      15 Lacks foundation.                                15 Lacks foundation. Outside the scope.
      16         THE WITNESS: I did not know              16 Leading.
      17 that.                                            17       THE WITNESS: I go back to what
      18 Q. What impact, if any, did Yahoo                18 I said earlier. Generally our direct
      19 closing its exchange have on Meta's              19 response solutions perform very, very
      20 advertising business?                            20 competitively against programmatic
      21         MR. BITTON: Objection to form.           21 solutions, you know, for many,
      22 Lacks foundation.                                22 arguably most advertisers. We're able
      23         MS. PATCHEN: Objection. Same.            23 to drive a better performance than
      24         THE WITNESS: None that I'm               24 they see in programmatic, and as a
      25 aware of.                                        25 result, it does not come up a huge
                                                                                      50 (Pages 194 - 197)
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                                                Page 198                                             Page 200
       1            S. Whitcombe                            1            S. Whitcombe
       2 amount and it hasn't required me to                2 Lacks foundation. Calls for
       3 have a very deep understanding of                  3 speculation. Leading.
       4 exactly how it works.                              4        THE WITNESS: I don't think the
       5 Q. You were aware that some                        5 exchanges taking -- changing their
       6 exchanges will do deals with particular            6 take rate -- ultimately advertisers
       7 publishers or advertisers under which the          7 will make a decision on where they
       8 exchange agrees to lower its take rate for         8 place their budgets based on the
       9 that particular publisher or advertiser?           9 performance metric that they care
      10 A. No.                                            10 about.
      11        MR. BITTON: Objection to form.             11        Now, if exchanges changing their
      12 Lacks foundation. Leading.                        12 take rate was important and budgets
      13 Q. Can you identify any specific                  13 were moving in that direction across
      14 advertisers who moved some or all of their        14 the book of business that I'm
      15 advertising budgets to Meta -- I'm sorry,         15 responsible for, I would think I would
      16 from Meta to exchanges because exchanges          16 be aware of that, but that has not
      17 lowered their take rates or a specific            17 come up in my capacity.
      18 publisher or advertiser?                          18 Q. So I guess it would be fair to
      19        MR. BITTON: Objection to form.             19 say that you're not in a good position to
      20 Lacks foundation. Leading.                        20 testify based on personal knowledge about
      21        THE WITNESS: No.                           21 whether advertisers would or would not
      22 Q. What impact, if any, has                       22 switch between Meta and exchanges if
      23 exchanges lowering their take rates for           23 exchanges change their take rate; is that
      24 specific publishers or advertisers had on         24 fair?
      25 Meta's advertising business?                      25        MR. BITTON: Objection to form.
                                                Page 199                                             Page 201
       1             S. Whitcombe                           1            S. Whitcombe
       2        MR. BITTON: Objection to form.              2 Leading. Calls for speculation.
       3 Lacks foundation. Leading.                         3 Lacks foundation.
       4        THE WITNESS: Again, nothing I'm             4        THE WITNESS: Again, I don't
       5 aware of.                                          5 necessarily know how I should answer
       6 Q. Is it fair to say that you are                  6 that question.
       7 not in a good position to testify based on         7        If advertisers were moving
       8 personal knowledge about whether                   8 budgets, moving significant budgets
       9 advertisers would switch between Meta and          9 between Meta and programmatic, I would
      10 exchanges if exchanges change their take          10 have an understanding of that. That
      11 rates?                                            11 simply isn't the case. And if we were
      12        MR. BITTON: Objection to form.             12 losing significant budgets to
      13 Lacks foundation. Calls for                       13 programmatic because of take rates,
      14 speculation. Leading.                             14 again I think I would have an
      15        MS. PATCHEN: Objection.                    15 understanding of that, but I don't
      16        THE WITNESS: Can you repeat the            16 think that we are.
      17 question?                                         17 Q. Why do you say that you don't
      18 Q. Sure.                                          18 believe Facebook is losing significant
      19        Is it fair to say that you're              19 budgets to programmatic because of take
      20 not in a good position to testify based on        20 rates?
      21 personal knowledge about whether                  21        MR. BITTON: Objection to form.
      22 advertisers would switch between Meta and         22        THE WITNESS: Because generally
      23 exchanges if exchanges change their take          23 on direct response advertising Meta
      24 rates?                                            24 advertising consistently, based on
      25        MR. BITTON: Objection to form.             25 advertiser feedback, drives better ROI
                                                                                       51 (Pages 198 - 201)
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                                                  Page 202                                            Page 204
       1           S. Whitcombe                               1            S. Whitcombe
       2 than programmatic.                                   2 advertisers look at ROI, search is very,
       3 Q. And so it's your experience that                  3 very competitive with the solutions that
       4 advertisers, at least based on what you've           4 we offer. And advertisers tend to move
       5 heard, advertisers are not moving                    5 budgets based upon performance.
       6 significant budgets between Meta and                 6 Q. So it sounds like you're saying
       7 programmatic; is that right?                         7 that, based upon what you hear,
       8        MR. BITTON: Objection.                        8 advertisers shift budgets between search
       9 Mischaracterizes the testimony. Lacks                9 and Meta more than they shift budgets
      10 foundation. Leading.                                10 between Meta and programmatic? Did I hear
      11        THE WITNESS: To my                           11 that correctly?
      12 understanding, I would say yes.                     12        MR. BITTON: Objection to form.
      13 Q. Have you heard of header                         13 Leading. Mischaracterizes the
      14 bidding?                                            14 testimony. Lacks foundation.
      15 A. I've heard of it. I don't have                   15        THE WITNESS: I would say
      16 a deep understanding of it, no.                     16 generally I hear, yes, that would be
      17 Q. What impact, if any, did header                  17 the case.
      18 bidding have on Meta's advertising                  18 Q. Okay.
      19 business?                                           19        In the last few years, open
      20        MR. BITTON: Objection to form.               20 auction display advertising has shifted
      21 Lacks foundation. Leading.                          21 from a second price auction to a first
      22        THE WITNESS: None, none that                 22 price auction.
      23 I'm aware of.                                       23        Are you aware of that?
      24 Q. Will have you ever heard of                      24        MR. BITTON: Objection to form.
      25 Google's Open Bidding?                              25 Leading. Lacks foundation.
                                                  Page 203                                            Page 205
       1           S. Whitcombe                               1           S. Whitcombe
       2 A. I have not.                                       2        THE WITNESS: No, I'm not aware
       3 Q. What impact, if any, did Google                   3 of that.
       4 launching Open Bidding have on Meta's                4 Q. What impact, if any, did open
       5 advertising business?                                5 auction display's shift from a second
       6       MS. PATCHEN: Objection. Calls                  6 price auction to a first price auction
       7 for speculation.                                     7 have on Meta's advertising business?
       8       MR. BITTON: Objection to form.                 8        MS. PATCHEN: Objection. Calls
       9 Lacks foundation.                                    9 for speculation.
      10       THE WITNESS: I'm not aware of                 10        MR. BITTON: Objection to form.
      11 any, and I go back to my previous                   11 Lacks foundation. Leading.
      12 answer on this, which is on                         12        THE WITNESS: I don't know of
      13 programmatic advertising, we tend to                13 any significant impact in terms of the
      14 be very competitive on a side-by-side               14 overarching performance of
      15 ROI basis with programmatic. With                   15 programmatic because of that change,
      16 search and other forms of direct                    16 certainly versus Meta solutions.
      17 response media, it's much more                      17 Q. Is it fair to say that changes
      18 competitive. So search will come up                 18 in how competition works in open auction
      19 more often, much more often than                    19 display don't, based upon what you hear,
      20 programmatic.                                       20 have a significant impact on Meta's
      21 Q. Why do you say that search comes                 21 advertising business?
      22 up much more often than programmatic?               22        MR. BITTON: Objection to form.
      23 A. Because generally across the                     23 Lacks foundation. Mischaracterizes
      24 advertisers or the partners that I                  24 the testimony. Leading.
      25 oversee, on a side-by-side basis when               25        THE WITNESS: Could you say that
                                                                                        52 (Pages 202 - 205)
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                                               Page 206                                             Page 208
       1             S. Whitcombe                          1            S. Whitcombe
       2 one more time, I'm sorry?                         2 objection, outside the scope of the
       3 Q. Sure.                                          3 30(b)(6) topics. Leading. Calls for
       4        Is it fair to say that, just               4 speculation. Calls for legal
       5 based on what you hear in your job, that          5 opinions. And lacks foundation.
       6 changes in how competition works in open          6        THE WITNESS: I don't -- I mean,
       7 auction display do not have a significant         7 I would not have even thought about it
       8 impact on Meta's advertising business?            8 through that lens, so no.
       9        MR. BITTON: Objection to form.             9        MR. VERNON: Could we show you
      10 Lacks foundation. Leading.                       10 tab fourteen. This will be I think
      11 Mischaracterizes the testimony.                  11 Exhibit 22.
      12        THE WITNESS: Yeah, I'm not                12        MR. BITTON: Sorry, counsel,
      13 aware of any impact.                             13 you're referring to tab fourteen.
      14 Q. Let me switch topics a little                 14        What does that mean?
      15 bit. Your counsel may object, so I'm             15        MR. VERNON: That was me
      16 going to try to do this slowly.                  16 mistakingly referring to our internal
      17        It's fair to say you're aware,            17 filing system, but it will be
      18 just as an individual in the world, there        18 Exhibit 22.
      19 is antitrust scrutiny over Meta; is that         19        (Whereupon, a document entitled
      20 fair?                                            20 Network Bidding Agreement was marked
      21        MR. BITTON: Objection to form.            21 Exhibit 22 for identification.)
      22        MS. PATCHEN: Objection. Outside           22 Q. Since it's towards the end of
      23 the scope.                                       23 the day, I'll just tell you I'm only going
      24        MR. BITTON: Outside the scope.            24 to ask you briefly about the pages ending
      25 Leading. Lacks foundation.                       25 in 348 and 439, which are also numbered 23
                                               Page 207                                             Page 209
       1             S. Whitcombe                          1            S. Whitcombe
       2        THE WITNESS: Yes.                          2 and 24.
       3 Q. And it's fair to say that if you               3        Let me at least describe the
       4 were to say that display and social are           4 document for the record.
       5 separate markets, that would be against           5        The first Bates number on the
       6 Facebook's interest with respect to               6 first page ends in 1326. The title is
       7 antitrust litigation investigations               7 Network Bidding Agreement.
       8 relating to Facebook?                             8        MS. PATCHEN: I'm going to object
       9        MS. PATCHEN: Objection. Outside            9 to any questions about the network
      10 the scope and calls for speculation.             10 bidding agreement as outside of the
      11        MR. BITTON: Objection to form.            11 scope of the topics that this witness
      12 Lacks foundation. Calls for a legal              12 has been designated to answer.
      13 conclusion and opinion. Outside the              13        MR. BITTON: Yeah, I'll state the
      14 scope. Leading.                                  14 same objection.
      15        THE WITNESS: Sorry, could you             15        And counsel, I'm warning you now
      16 repeat the question?                             16 because you're literally taking more
      17 Q. It's fair to say that if you                  17 time than you were allocated to cover
      18 were to say that display and social were         18 deposition topics that were already
      19 separate markets, that would be against          19 covered in a prior deposition, so
      20 Facebook's interests with respect to the         20 that's in contrast to court orders.
      21 antitrust scrutiny of Facebook?                  21        MR. VERNON: We'll be brief.
      22        MS. PATCHEN: Same objections.             22        THE WITNESS: (Reviewing).
      23 This is far outside the scope of the             23        Which page especially again?
      24 questions.                                       24 Q. 348 and 349.
      25        MR. BITTON: I'll state                    25        MS. PATCHEN: I also want to be
                                                                                     53 (Pages 206 - 209)
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                                                          Google’s Errata Sheet for Google’s Counsel’s Questions in the
                                      Transcript of the 30(b)(6) Deposition of Meta Platforms, Inc. (Simon Whitcombe) (September 28, 2023)

Page                                Line                                  Now Reads                            Should Read                          Reason
9                                   10-11                                 other of half                        other half                           Transcription error
20                                  11                                    offer customers                      offer its advertiser customers       Transcription error
21                                  9                                     advertising spaces                   advertising space                    Transcription error
24                                  6                                     users that Meta serves               users does Meta serve                Transcription error
26                                  3                                     the owned                            its owned                            Transcription error
28                                  18-19                                 app element                          ad element                           Transcription error
33                                  6-7                                   based on newspaper websites          placed on newspaper websites         Transcription error
38                                  5                                     advertiser counts                    advertiser accounts                  Transcription error
47                                  24                                    with underlined                      with underline                       Transcription error
52                                  6-7                                   gross the business                   grows the business                   Transcription error
69                                  3                                     advertising company                  advertising customer                 Transcription error
71                                  12                                    supplement                           sub-bullet                           Transcription error
74                                  6                                     one of                               one to                               Transcription error
98                                  9                                     or                                   for                                  Transcription error
214                                 3                                     provider programmatic                providers of programmatic            Transcription error
229                                 7                                     investments                          investment                           Transcription error
230                                 8                                     updating                             obtaining                            Transcription error
                                                                          had a product had to reason to       as a product had a reason to share
235                                 10-11                                 share their views on                 their views of                       Transcription error
241                                 18                                    Google seven                         Google Search                        Transcription error

I have read the transcript of the 30(b)(6) deposition of Meta Platforms, Inc. for which Simon Whitcombe was the designated witness, and have listed all changes and corrections to my questions
above, along with my reasons therefore.

Date: 11/1/2023

Signature:
